Case 22-13032-amc           Doc 10     Filed 11/10/22 Entered 11/10/22 18:20:54           Desc Main
                                      Document      Page 1 of 16



                       IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                     :
    In re:                                           :     Chapter 9
                                                     :
    CITY OF CHESTER, PENNSYLVANIA,                   :     Case No. 22-13032
                                                     :
                           Debtor.                   :
                                                     :

MOTION FOR AN ORDER FINDING THAT 11 U.S.C. § 362 DOES NOT OPERATE AS
A STAY OF THE RECEIVER’S MODIFICATION OF AMENDED RECOVERY PLAN
 PENDING BEFORE THE COMMONWEALTH COURT OF PENNSYLVANIA, OR
       ALTERNATIVELY, FOR RELIEF FROM THE AUTOMATIC STAY

             The City of Chester (“Chester” or the “City”), as the debtor in the above-captioned

chapter 9 case, hereby files this motion (the “Motion”), pursuant to Section 362 of title 11 of the

United States Code1 (the “Bankruptcy Code”), for the entry of an order clarifying that 11 U.S.C.

§ 362(a) does not operate as a stay of the Modification of the Amended Recovery Plan (the

“Modification”) filed by Michael Doweary, the receiver for the City of Chester (the “Receiver”),

currently pending before the Commonwealth Court of Pennsylvania (the “Commonwealth

Court”), or alternatively, granting relief from the automatic stay to allow the Modification to

proceed. A true and correct copy of the Modification is attached to the Kapoor Declaration

(defined below) as Exhibit H. In support of this Motion, the City respectfully represents as follows:

                                 I.      Jurisdiction and Venue

             1.    This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334.

             2.    This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

             3.    Venue for this matter is proper in the Eastern District of Pennsylvania pursuant to

28 U.S.C. §§ 1408 and 1409.


1
    Applicable to cases under chapter 9 pursuant to 11 U.S.C. § 901(a).
Case 22-13032-amc        Doc 10    Filed 11/10/22 Entered 11/10/22 18:20:54              Desc Main
                                  Document      Page 2 of 16



       4.      The statutory predicates for the relief sought herein are Sections 362(a), (b) and (d)

of the Bankruptcy Code and Bankruptcy Rule 4001.

                                    II.     Background

 A.      History of the City

       5.      Chester is the oldest city in Pennsylvania, first incorporated as a borough in 1701

and then as a city in 1866. The City is a city of the Third Class under Pennsylvania law, with a

population of approximately 33,000, and operates under a Home Rule Charter. Under the City’s

Home Rule Charter form of government, the legislative power to create ordinances, rules and

regulations for the City is held by the city council (the “City Council”). The City Council consists

of the mayor of the City (the “Mayor”) and four elected council members. Members of the City

Council serve a term of four years and serve as a department head for one of the City’s five

municipal departments.

       6.      During World War I and World War II, the City thrived as an industrial and

manufacturing community. However, since the mid-1950s, the City has been experiencing

economic difficulties and facing several challenges, including, (i) a decreasing population,

(ii) declining revenues, and (iii) high municipal expenditures. In 1995, faced with multi-million

dollar deficits and past due obligations, the City was designated as a distressed city under the

Pennsylvania Municipalities Financial Recovery Act, Act of 1987, P.L. 246, No. 47 (“Act 47”)

and subjected to financial oversight by the Commonwealth of Pennsylvania. The City’s financial

challenges were exacerbated by the onset and continuing impact of the coronavirus disease 2019

pandemic. Additional details regarding the City and the events leading to the commencement of

this chapter 9 case are set forth in the Declaration of Michael Doweary in Support of the City of

Chester, Pennsylvania’s Statement of Qualifications Pursuant to Section 109(c) of the Bankruptcy

Code and First Day Pleadings (the “Doweary Declaration”) and the Declaration of Vijay Kapoor


                                                 2
Case 22-13032-amc       Doc 10     Filed 11/10/22 Entered 11/10/22 18:20:54           Desc Main
                                  Document      Page 3 of 16



in Support of the City of Chester, Pennsylvania’s Statement of Qualifications Pursuant to Section

109(c) of the Bankruptcy Code and First Day Pleadings (the “Kapoor Declaration”) filed

contemporaneously herewith.

 B.      The Appointment of the Receiver

       7.      On April 13, 2020, Governor Tom Wolf issued a Declaration of Fiscal Emergency

as to the City (the “Declaration”). The following day the Mayor issued a statement in support of

the Declaration. In accordance with the Declaration, the Pennsylvania Department of Community

and Economic Development (the “DCED”) prepared an emergency action plan (the “EAP”)

detailing cost saving measures. The City, in cooperation with the DCED, began to implement the

EAP.

       8.      On June 1, 2020, the DCED filed with the Commonwealth Court a Petition for

Appointment of Receiver for the City of Chester and Related Relief Pursuant to Subsection 702 of

Pennsylvania Municipalities Financial Recovery Act, Act of 1987 (the “Receiver Petition”). The

City Council did not respond or otherwise oppose the Receiver Petition. On June 15, 2020, the

Commonwealth Court held a hearing on the Receiver Petition at which the parties, including the

City Council, stipulated that the conditions precedent to the appointment of the Receiver under

Act 47 had been met. The City Council further stipulated that it had no objections to the relief

sought in the Petition and that the Receiver was qualified under Act 47.

       9.      On June 22, 2020, the Commonwealth Court entered an order (the “Receiver

Order”) finding, among other things, that the City Council failed to adopt a consent agreement

pursuant to Section 607 of Act 47 and that a fiscal emergency under Section 602(a) of Act 47

continued to exist in the City. The Receiver Order granted the Receiver Petition, declaring the

City to be in receivership pursuant to Section 702(e)(2) of Act 47 and appointed the Receiver.




                                                3
Case 22-13032-amc        Doc 10     Filed 11/10/22 Entered 11/10/22 18:20:54             Desc Main
                                   Document      Page 4 of 16



       10.     The Receiver Order directed the Receiver to develop a recovery plan for submission

to the Commonwealth Court, the Secretary for the DCED, the City Council, and the Mayor. The

Receiver Order also required and empowered the Receiver to implement the EAP until he

developed a recovery plan. The Receiver Order also provided that during the fiscal emergency,

the City Council and Mayor shall continue to carry out their duties, subject to and consistent with

the provisions of the EAP and any recovery plan. On December 28, 2021, the Commonwealth

Court entered an order extending the City’s receivership and the Receiver’s appointment for up to

two years.

 C.      The Receiver’s Efforts

       11.     In August 2020, the Receiver submitted an initial Recovery Plan (the “Recovery

Plan”). The Recovery Plan represented the City’s first steps towards an exit from financial distress

and the stable provision of critical services to the City’s residents, based on the information then

available to the Receiver. Further, the Recovery Plan set forth certain initiatives that the Receiver

would implement to address the City’s financial circumstances. On October 19, 2020, the

Commonwealth Court issued a Memorandum & Order approving the Recovery Plan (the

“Recovery Plan Order”). A copy of the Recovery Plan Order is attached to the Kapoor Declaration

as Exhibit C. The Recovery Plan Order noted that the Recovery Plan contemplated further

amendment and the Commonwealth Court’s assurance that the City Council would make efforts

to obtain current financial information for use in modifying the Recovery Plan.

       12.     The Receiver worked diligently to formulate and implement the Recovery Plan and

improve the City’s financial position and provide vital and necessary services to its residents by

taking steps to reduce its expenditures, including, making a significant reduction of its workforce,

restricting overtime, implementing a hiring freeze and limiting discretionary purchases. The




                                                 4
Case 22-13032-amc       Doc 10     Filed 11/10/22 Entered 11/10/22 18:20:54           Desc Main
                                  Document      Page 5 of 16



Receiver made great efforts to work with the City Council to implement the Recovery Plan and

obtain the information necessary to amend the Recovery Plan. Despite the Receiver’s efforts to

implement the Recovery Plan cooperatively, it became necessary for the Receiver to seek the

assistance of the Commonwealth Court.

       13.     Soon after his appointment, the Receiver learned that the City’s circumstances were

more dire than he anticipated. To facilitate the implementation of the Recovery Plan, the Receiver

sought to hire a chief operating officer (the “COO”) and discussed the same with the Mayor.

Approximately three weeks after the COO began her position, the Mayor, without consulting the

Receiver, terminated the COO and refused to reinstate her. The City Council also opposed the

Receiver’s organizational changes to the City’s departments. The Receiver brought these issues

before the Commonwealth Court for resolution, in particular the issue of whether Act 47 gave the

Receiver the authority to require the City Council to take action to implement the Recovery Plan,

including the hiring of the COO. Attached to the Kapoor Declaration as Exhibit D is a copy of the

Stipulation of Fact Filed Pursuant to Court’s December 16, 2020 Order (the “Stipulation”) filed

on behalf of the Receiver and the City relating to the issues presented to the Commonwealth Court.

       14.     On December 23, 2020, the Commonwealth Court entered a Memorandum & Order

(the “COO Order”), finding that the Recovery Plan did not define the role of the COO. The

Commonwealth Court encouraged the Receiver and the City Council to collaborate to resolve the

COO duties and create a proposed budget that incorporated the Recovery Plan, pending

modifications to the Recovery Plan. A copy of the COO Order is attached to the Kapoor

Declaration as Exhibit E.

       15.     In April 2021, the Receiver submitted an Amended Recovery Plan (the “Amended

Recovery Plan” and together with the Recovery Plan, the “Recovery Plans”), which the




                                                5
Case 22-13032-amc        Doc 10    Filed 11/10/22 Entered 11/10/22 18:20:54          Desc Main
                                  Document      Page 6 of 16



Commonwealth Court approved on June 7, 2021. Although the City Council did not object to the

Commonwealth Court’s approval of the Amended Recovery Plan, challenges in implementing the

Recovery Plans persisted.

       16.      On March 4, 2022, the Receiver filed a Petition for Mandamus (the “Mandamus

Petition”) requesting that the Commonwealth Court issue a writ of mandamus upon the Mayor and

the City Council mandating that they comply with the terms of the Amended Recovery Plan and

orders issued by the Receiver pursuant to the Recovery Plans. A copy of the Mandamus Petition

and corresponding Memorandum of Law without exhibits are attached to the Kapoor Declaration

as Exhibit F.    In formulating the Amended Recovery Plan, the Receiver negotiated salary

reductions with the City Council members as one of the terms of an agreement to pass the 2021

budget for the City. The City Council did not object to this provision prior to the Commonwealth

Court’s approval of the Amended Recovery Plan.           Accordingly, pursuant to the Amended

Recovery Plan, the City Council was required to change City ordinances to reflect the salary

reductions. However, following the approval of the Amended Recovery Plan, the Mayor and City

Council passed a budget that did not reflect the agreed salary reductions.

       17.      Additionally, the Mandamus Petition sought to prevent the City Council from

continuing to take actions that impeded the Receiver’s ability to implement the Amended Recovery

Plan. For example, the City Council authorized payments that were not included in the budget or

formally authorized without informing the Receiver. Additionally, the interim chief financial

officer (the “Interim CFO”), appointed pursuant to an order issued by the Receiver in connection

with the Amended Recovery Plan, was denied access to the buildings, financial system, and

meetings, impeding her ability to perform her duties. The City Council also informed the Receiver

that it would not comply with all of the provisions of the Receiver’s orders.




                                                 6
Case 22-13032-amc       Doc 10    Filed 11/10/22 Entered 11/10/22 18:20:54           Desc Main
                                 Document      Page 7 of 16



       18.    On March 22, 2022, the Commonwealth Court issued a Memorandum and Order

granting the Mandamus Petition, in part (the “Mandamus Order”). A copy of the Mandamus Order

is attached to the Kapoor Declaration as Exhibit G. The Commonwealth Court concluded that

certain City Council members and City employees had engaged in conduct that impeded the

Receiver’s ability to implement the Amended Recovery Plan. Accordingly, the Mandamus Order,

in relevant part, requires the City Council to refrain from interfering with the Interim CFO’s

performance of her duties and to comply with all programs, policies, procedures, audit

recommendations, and monetary and financial controls implemented by the Interim CFO. Further,

the Mandamus Order requires the City Council to immediately share information relating to the

City’s finances with the Receiver and the Interim CFO.

 D.      The Modification

       19.    Following the entry of the Mandamus Order, the challenges that the Receiver faced

in working with the City Council continued. In general, there remains confusion among City

employees regarding to whom they report and what direction to follow when faced with conflicting

directions. Unfortunately, Act 47, the Recovery Plans, and existing orders of the Commonwealth

Court do not always provide clear guidance regarding such conflicting directions.

       20.    Further, on October 21, 2022, a member of the City Council informed the Receiver

of an alleged “phishing” incident in which the councilmember caused a wire in the approximate

amount of $400,000 to be transferred to someone posing as the City’s insurance broker. Although

the councilmember informed the Receiver of the phishing incident in October 2022, the incident

actually occurred in July 2022—more than three months prior. Despite the direction of the

Mandamus Order to immediately share financial information with the Receiver, the




                                               7
Case 22-13032-amc        Doc 10     Filed 11/10/22 Entered 11/10/22 18:20:54           Desc Main
                                   Document      Page 8 of 16



councilmember delayed disclosure, without providing a reason for doing so. Further, it is unclear

what steps, if any, were taken to remedy the incident.

        21.    In response to these challenges, among others, on November 8, 2022, the Receiver

filed the Modification with the Commonwealth Court, seeking to further amend the Amended

Recovery Plan. Through the Modification, the Receiver seeks to add or amend initiatives in the

Amended Recovery Plan to address the challenges he continues to face. These initiatives are more

fully described in the Modification and, among other things, purport to provide clearer guidance

to all parties as to the implementation of the Amended Recovery Plan to ensure the provision of

vital and necessary services to the City’s residents.

 E.      The Chapter 9 Proceedings

        22.    On February 8, 2022, the Receiver received written authorization to file a municipal

debt adjustment action on behalf of the City under the Bankruptcy Code and Act 47 (the

“Bankruptcy Authorization”) from the Secretary of the DCED.

        23.    Pursuant to the authority granted by the Bankruptcy Authorization, on November

10, 2022 (the “Petition Date”), the City commenced this case under chapter 9 of the Bankruptcy

Code, intending to propose a plan of adjustment (the “Plan”) to adjust the City’s immense debts.

        24.    Given the preexisting lack of clarity relating to the operations of the City, the

Receiver is concerned that the persisting issues may be further exacerbated by the bankruptcy

filing. Accordingly, a ruling by the Commonwealth Court on the Modification is necessary to

facilitate a bankruptcy process that enables the City to propose and implement a Plan to allow a

successful exit from chapter 9 and to provide vital and necessary services to the residents of the

City.




                                                  8
Case 22-13032-amc         Doc 10    Filed 11/10/22 Entered 11/10/22 18:20:54             Desc Main
                                   Document      Page 9 of 16



                       III.   Relief Requested and Basis for Relief

       25.     Section 362(a) of the Bankruptcy Code imposes an automatic stay of, among other

things, “the commencement or continuation, including the issuance or employment of process, of

a judicial, administrative, or other action or proceeding against the debtor that was or could have

been commenced before the commencement of the case under this title . . . .” 11 U.S.C.

§ 362(a)(1).

       26.     The City does not believe that the automatic stay pursuant to Section 362 of the

Bankruptcy Code applies to the relief sought in the Modification. Nonetheless, by this Motion,

the City seeks the entry of an order confirming that the automatic stay does not apply to the

Modification and allow the Commonwealth Court to exercise its jurisdiction to consider and

approve the Modification, without any concern of violating the automatic stay. Alternatively, in

the event that the automatic stay applies to the relief sought by the Modification, the City requests

that the Court grant limited relief from the automatic stay for cause pursuant to Section 362(d)(1)

of the Bankruptcy Code.

 A.      The Automatic Stay Does Not Apply to the Modification.

       27.     “Although the scope of the automatic stay is broad, the clear language of Section

362(a) indicates that it stays only proceedings against a ‘debtor’ . . . .’” Maritime Elec. Co. v.

United Jersey Bank, 959 F.2d 1194, 1204 (3d Cir. 1991) (quoting Assoc. of St. Croix Condominium

Owners v. St. Croix Hotel Corp., 682 F.2d 446, 448 (3d Cir. 1982)). See also Slobodian v. Adams

Cty. (In re Mann Realty Assocs.), 608 B.R. 408, 426 (M.D. Pa. 2019) (noting that the automatic

stay only applies to actions against the debtor or property of the estate); Mitchell v. Fukuoka Daiei

Hawks Baseball Club (In re Mitchell), 206 B.R. 204, 212 (Bankr. C.D. Cal. 1997) (“The Section

362 stay does not apply where, as here, the debtor is the plaintiff in a lawsuit”); Gordon v.

Whitmore (In re Merrick), 175 B.R. 333, 337 (9th Cir. BAP 1994) (“It is clear that § 362 does not


                                                 9
Case 22-13032-amc         Doc 10    Filed 11/10/22 Entered 11/10/22 18:20:54            Desc Main
                                   Document     Page 10 of 16



stay the hand of the trustee from continuing to prosecute a pre-bankruptcy lawsuit instituted by the

debtor.”). Where the automatic stay does not apply to actions initiated by the debtor, defendants

in such actions are permitted to defend themselves so long as they do not assert counterclaims

without first seeking relief from the automatic stay. See Merrick, 175 B.R. at 338 (“Given this

freedom for the debtor or the trustee to prosecute the debtor’s claims, an equitable principle of

fairness requires a defendant to be allowed to defend himself . . . .”).

        28.    Section 706(9) of Act 47 empowers the Receiver “[t]o file a municipal debt

adjustment action under the Bankruptcy Code . . . and to act on the municipality’s behalf in the

proceeding” upon written authorization of the secretary. Act 47 § 706(9). Therefore, pursuant to

Section 706(9) of Act 47, the Receiver is authorized to act on behalf of the City in this chapter 9

case.

        29.    The Receiver, who acts on the behalf of the City in this case, is also seeking the

relief set forth in the Modification before the Commonwealth Court. The Receiver believes that

the relief requested in the Modification will enable the Receiver to navigate the City through the

chapter 9 proceeding and minimize the operational challenges previously experienced in

implementing the Recovery Plans.

        30.    Indeed, the caption of the Commonwealth Court receivership proceeding identifies

the City as the defendant. But the caption is merely a snapshot or a brief explanation of the

receivership proceeding and the City urges this Court to look beyond mere titles to the substantive

and legal positions of the parties participating in the Commonwealth Court case and this

bankruptcy case. Because the Receiver is acting on behalf of the City in seeking relief before the

Commonwealth Court and in this chapter 9 case, the Modification was asserted on behalf of the

City and not against the City within the meaning of Section 362(a)(1).




                                                 10
Case 22-13032-amc        Doc 10    Filed 11/10/22 Entered 11/10/22 18:20:54               Desc Main
                                  Document     Page 11 of 16



       31.     Moreover, the focus of the Modification is on issues that affect the day-to-day

operations of the City and circumstances that have impeded the Receiver’s ability to do his job

and implement the Recovery Plans, issues over which this Court may lack jurisdiction absent

consent of the City. Section 901 of the Bankruptcy Code is careful in incorporating a limited

number of provisions under title 11. The clear intent of chapter 9 is to limit bankruptcy court

oversight over the governmental powers of the City and avoid any interference in the politics of

operating the City, absent the express consent of the City. 11 U.S.C. § 904. Moreover, under

Pennsylvania law, it is Act 47 that dictates the rights and duties of the Receiver, elected officials,

and employees in operating a city under financial management or oversight. Pursuant to Act 47,

the Commonwealth Court has jurisdiction to hear and decide the issues raised by the Receiver in

the Modification. 11 U.S.C. § 904.

       32.     Finally, the automatic stay does not apply to the Modification and allowing it to

proceed in the Commonwealth Court will not prejudice parties that may be affected by the

Modification. The automatic stay only prohibits claims against the City and does not restrict

affected parties from filing pleadings in response to the Modification. Historically, the City

Council, the City Solicitor, and other intervening parties have filed responsive pleadings related to

the Receiver’s Amended Recovery Plan. Such parties will also be able to participate and object to

the Modification, so long as they do not assert claims against the City.

       33.     For these reasons, Section 362 of the Bankruptcy Code does not operate as a stay

of the Receiver’s Modification that is currently pending before the Commonwealth Court.

Understanding, however, that state courts are often reluctant to proceed upon the commencement

of a bankruptcy case by one of the litigants in a matter, the Receiver respectfully requests entry of




                                                 11
Case 22-13032-amc        Doc 10    Filed 11/10/22 Entered 11/10/22 18:20:54               Desc Main
                                  Document     Page 12 of 16



an order that will provide the Commonwealth Court the comfort and guidance to allow it to

proceed.

 B.        Alternatively, If the Automatic Stay Applies, Cause Exist to Grant Relief from the
           Automatic Stay to Allow the Modification to Proceed.

       34.      Section 362(d)(1) of the Bankruptcy Code provides that “[o]n request of a party in

interest and after notice and a hearing, the court shall grant relief from the stay provided under

subsection (a) of this section, such as by terminating, annulling, modifying or conditioning such

stay (1) for cause . . . .” 11 U.S.C. § 362(d)(1). Because “cause” is not defined in the Bankruptcy

Code, whether “cause exists to modify the automatic stay is determined on a case-by-case basis.

See, e.g., In re Rexene Prods. Co., 141 B.R. 574, 576 (Bankr. D. Del. 1992). See also In re the

SCO Group, Inc., 395 B.R. 852, 856 (Bankr. D. Del. 2007) (“Cause is a flexible concept and courts

often conduct a fact intensive, case-by-case balancing test, examining the totality of the

circumstances to determine whether sufficient cause exists to lift the stay.”); Mooney v. Gill, 310

B.R. 543, 546-47 (N.D. Tex. 2002) (“Cause is an intentionally broad and flexible concept.”).

       35.      The party requesting relief from the automatic stay bears the initial burden of

demonstrating “cause” and the party opposing the relief bears the burden of disproving the

existence of “cause.” Rexene Prods., 242 B.R. at 577; 11 U.S.C. § 362(g).

       36.      Congress has recognized that cause may exist to grant relief from the automatic

stay to permit an action to proceed in a non-bankruptcy forum. “[I]t will often be more appropriate

to permit proceedings to continue in their place of origin, when no great prejudice to bankruptcy

estate would result, in order to leave the parties to their chosen forum and to relieve the bankruptcy

court from many duties that may be handled elsewhere.” H.R. Rep. No. 95–595, 95th Cong., 1st

Sess. 343–44 (1977), 1978 U.S. Code Cong. & Admin. News, p. 6300.




                                                 12
Case 22-13032-amc         Doc 10    Filed 11/10/22 Entered 11/10/22 18:20:54               Desc Main
                                   Document     Page 13 of 16



       37.     Accordingly, courts have found that allowing an action to proceed in a non-

bankruptcy forum may establish sufficient “cause” to grant relief from the automatic stay. See,

e.g., In re ABC Learning Centers Ltd., 445 B.R. 318 (Bankr. D. Del. 2010) (granting relief from

the automatic stay to allow litigation against the debtor to proceed in non-bankruptcy forum); In

re Tribune Co., 418 B.R. 116, 126 (Bankr. D. Del. 2009) (same). Other factors that courts have

considered include (a) whether relief would result in partial or complete resolution of the issues;

(b) whether litigation in another forum would prejudice the interests of other creditors; (c) the

interests of judicial economy and the expeditious and economical resolution of the litigation; and

(d) the impact of the stay on the parties and the balance of harms. See In re Indian River Estates,

293 B.R. 429 (Bankr. N.D. Ohio 2003).

       38.     Granting relief from the automatic stay to permit the Commonwealth Court to

decide the Modification will not prejudice the interests of the City’s creditors. Instead, granting

the relief from the automatic stay will permit the Receiver to obtain the clarity needed to navigate

the City through the chapter 9 proceedings with minimal complications and ensure the provision

of vital and necessary services to the City’s residents, to the benefit of the City and its creditors.

       39.     Moreover, granting relief from the automatic stay will promote the interests of

judicial economy as the clarity sought through the Modification will enable the Receiver to

implement the Recovery Plans and formulate the Plan with a clearer understanding of the scope of

his authority. While the Receiver acknowledges that Act 47 and the Recovery Plans do not address

every possible question of the Receiver’s authority under the law of the Commonwealth of

Pennsylvania, the Receiver reserves the right to seek additional relief from stay to bring such

questions before the Commonwealth Court.




                                                  13
Case 22-13032-amc         Doc 10    Filed 11/10/22 Entered 11/10/22 18:20:54               Desc Main
                                   Document     Page 14 of 16



       40.      Litigants regularly appearing in proceedings before the Commonwealth Court will

not be prejudiced in appearing before such court, which is arguably more convenient and the state

court with appropriate jurisdiction to hear these important issues.                Furthermore, the

Commonwealth Court has presided over the receivership proceedings for over two years and is

deeply familiar with the Receiver’s arguments as presented in the Mandamus Petition and the

Modification.

       41.      Accordingly, granting relief from the automatic stay to allow the Commonwealth

Court to rule on the Modification and approve the implementation of the amendments to the

Amended Recovery Plan will not harm the parties involved, but will promote judicial economy

and a more efficient path through the chapter 9 proceeding.

                                III.    Reservation of Rights

       42.      The City files this Motion without prejudice to or waiver of its rights pursuant to

Section 904 of the Bankruptcy Code, and nothing herein is intended to, shall constitute, or shall be

deemed to constitute the City’s consent, pursuant to Section 904 of the Bankruptcy Code, to this

Court’s interference with (a) any of the political or governmental powers of the City, (b) any of

the property or revenues of the City, or (c) the City’s use or enjoyment of any income-producing

property.

                                        IV.     Notice

       43.      Notice of this Motion will be provided to the following (or their counsel if known)

(a) the U.S. Trustee; (b) the City Solicitor for Chester; (c) the City’s largest unsecured creditors as

identified on the list filed under Bankruptcy Rule 1007(d); and (d) any party that has requested

notice pursuant to Federal Rule of Bankruptcy Procedure 2002. The City submits that, in light of

the nature of the relief requested herein, no other or further notice need be given.




                                                  14
Case 22-13032-amc        Doc 10    Filed 11/10/22 Entered 11/10/22 18:20:54              Desc Main
                                  Document     Page 15 of 16



                                  V.     No Prior Request

       44.     No prior request for the relief sought in the Motion has been made to this or any

other Court.

       WHEREFORE, the City respectfully requests that the Court grant the relief requested

herein, enter an order substantially in the form attached hereto as Exhibit A (i) confirming that the

automatic stay is not in effect solely with respect to the Modification, (ii) alternatively, granting

relief from the automatic stay to allow the Commonwealth Court to hear and rule on the

Modification and approve the implementation of the amendments to the Amended Recovery Plan,

(iii) waiving the imposition of the 14-day stay imposed by Bankruptcy Rule 4001(a)(3), and (iv)

any granting further relief the Court may deem just and proper.



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                                                 15
Case 22-13032-amc   Doc 10    Filed 11/10/22 Entered 11/10/22 18:20:54   Desc Main
                             Document     Page 16 of 16
